JOINT NOTICE OF AGREEMENT IN PRINCIPLE TO SETTLE

VIA CM-ECF
June 16, 2017

Chief Judge Brian A. Jackson
777 Florida Street, Suite 375
Baton Rouge, LA 70801

Re: Bach, et al. v. Amedisys, Inc., et al., U.S. District Court for the Middle
District of Louisiana, Docket No. 3:10-cv-00395-BAJ-RLB

Dear Chief Judge Jackson:

Lead Plaintiffs the Public Employees’ Retirement System of Mississippi and the Puerto
Rico Teachers’ Retirement System (collectively, “Plaintiffs”) and Defendants Amedisys, Inc.,
Dale E. Redman, Larry R. Graham, Wendy Stabiler Borne, as the Independent Executrix of the
Succession of William F. Borne, Alice Ann Schwartz, and Jeffrey D. Jeter (collectively,
“Defendants,” and together with Plaintiffs, the “Parties”) respectfully submit this Joint Notice of
Agreement in Principle to Settle to the Court.

The Parties advise the Court that they have reached an agreement-in-principle to settle
the Bach, et al. v. Amedisys, Inc., et al. class action (No. 10-00395-BAJ-RLB) (M.D. La.),
subject to the completion of settlement documentation. The Parties expect to present the
settlement documentation to the Court within 60 days. The Parties have agreed among
themselves and also request that the Court stay all deadlines until they complete and submit the
settlement documentation. In addition, the Court had scheduled a hearing on Plaintiffs’
anticipated class certification motion for November 9, 2017, and we respectfully request that the
Court hold that date open for the hearing on final approval of the proposed settlement.

Respectfully submitted by:

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CERTIFICATE OF SERVICE

I hereby certify that on June 16, 2017, a copy of the foregoing was filed electronically
with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all
counsel of record by operation of the Court’s electronic filing system.

By: /s/ Richard F. Zimmerman, Jr.
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